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                                           July 26, 2024
Via CM/ECF Filing
Chambers of Judge J. P. Boulee
ATTN: Ms. Jennifer Lee
1988 United States Courthouse
75 Ted Turner Drive, S.W.
Atlanta, GA 30303-3309

       RE:      Vote.Org, et al. v. Georgia State Election Board, et al.
                Case No. 1:22-cv-01734-JPB

Dear Ms. Lee:

       Pursuant to Local Rule 83.1(E)(3), NDGa, regarding leaves of absence of twenty (20) or
fewer consecutive days, please accept this letter respectfully requesting that no hearing or trials be
calendared during the time periods of:

      August 8, 2024 (professional development conference);
      August 19, 2024 (hearing);
      August 22-23, 2024 (hearing and professional development conference);
      September 19, 2024 (professional development conference);
      October 15-18, 2024 (family obligations);
      October 24, 2024 (professional development conference);
      November 5, 2024 (family obligations);
      November 14, 2024 (professional development conference);
      November 25-27, 2024 (family obligations);
      December 23-31, 2024 (family obligations).

Applicant anticipates being away from the practice of law to attend to continuing legal education,
professional obligations, or family matters during these times. Applicant currently has no hearings
or trials scheduled for the above-referenced case during the requested leave period.

                                                      Sincerely,

                                                      KREVOLIN & HORST, LLC

                                                      Adam M. Sparks
                                                      Adam M. Sparks
                                                      GA Bar No. 341578
                                                      Counsel for Plaintiffs
         Case 1:22-cv-01734-JPB Document 211 Filed 07/26/24 Page 2 of 2




AMS:lb

cc: All Counsel of Record (via CM/ECF)




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